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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                        FT. PIERCE DIVISION



      TAMMY MCBRIDE,

            Plaintiff,
      v.
                                                              CASE NO.:
      THE CBE GROUP, INC.

            Defendant.
                                                        /

                                                  COMPLAINT

           1.      Unwanted “Robocalls” are the #1 consumer complaint in America today.

           2.      The people complaining about harassing robocalls is increasing at an alarming rate.

  In 2015, 2,125,968 complained to the Federal Trade Commission (FTC) and Federal

  Communications Commission (FCC), in 2016 this number was 3,401,614 2016 and in 2017 it was

  4,501,967.1

           3.      The CBE Group, Inc. robocalled the Plaintiff a mindboggling 200 times.

           4.      The CBE Group, Inc. has a corporate policy to robocall people thousands of times.

           5.       “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of

  modern civilization. They wake us up in the morning; they interrupt our dinner at night; they force

  the sick and elderly out of bed; they hound us until we want to rip the telephone out of the wall.’

  137 Cong. Rec. 30, 821 (1991).              Senator Hollings presumably intended to give telephone

  subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm



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   It is important to recognize these merely reflect the number of individuals that complained to these agencies; the
  number of people that have been victimized by illegal robocalling abuse could be close to 100,000,000 in the last 3
  years
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  Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014). Despite the penalties put in place over 26

  years ago, robocall abuse continues to skyrocket.

         6.      Plaintiff, Tammy McBride, alleges Defendant, The CBE Group, Inc., robocalled

  her more than 200 times in stark violation of the Telephone Consumer Protection Act, 47 U.S.C.

  § 227 et seq. (“TCPA”), the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et. seq.

  (“FDCPA”), the Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq.

  (“FCCPA”), Invasion of Privacy (“IOP”).

         7.      Robocalls are very inexpensive to make. As was noted in a Senate hearing on the

  subject: “With such a cheap and scalable business model, bad actors can blast literally tens of

  millions of illegal robocalls over the course of a single day at less than 1 cent per minute.” Stopping

  Fraudulent Robocall Scams: Can More Be Done?: Hearing Before the Subcomm. on Consumer

  Prot., Prod. Safety, and Ins. of the S. Comm. on Commerce, Sci., and Transp., 113 Cong. 113-117

  (2013) (statement of Lois Greisman, Assoc. Director, Division of Marketing Practices, Bureau of

  Consumer Protection, Federal Trade Commission).

         8.      The TCPA was enacted to prevent companies like The CBE Group, Inc. from

  invading American citizens’ privacy and prevent illegal robocalls.

         9.      Congress enacted the TCPA to prevent real harm. Congress found that "automated

  or pre-recorded calls are a nuisance and an invasion of privacy, regardless of the type of call" and

  decided that "banning" such calls made without consent was "the only effective means of

  protecting telephone consumers from this nuisance and privacy invasion." Pub. L. No. 102-243,

  §§ 2(10-13) (Dec. 20, 1991), codified at 47 U.S.C. § 227; see also Mims v. Arrow Fin. Servs., LLC,

  132 S. Ct. 740, 744 (2012) (“The Act bans certain practices invasive of privacy”).



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         10.     According to findings by the FCC—the agency Congress vested with authority to

  issue regulations implementing the TCPA—such calls are prohibited because, as Congress found,

  automated or prerecorded telephone calls are a greater nuisance and invasion of privacy than live

  solicitation calls, and such calls can be costly and inconvenient. The FCC also recognized that

  wireless customers are charged for incoming calls whether they pay in advance or after the minutes

  are used.

                                  JURISDICTION AND VENUE

         11.     Jurisdiction and venue for purposes of this action are appropriate and conferred by

  28 U.S.C. §1331.

         12.     Violations described in the Complaint occurred while Plaintiff was in Lake Placid,

  Florida.

                                        FACTUAL ALLEGATIONS


         13.     Plaintiff is a natural person and citizen of the State of Florida, residing in Lake

  Placid, Florida.

         14.     Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8) 15 U.S.C. §

  1692(a)(3).

         15.     Plaintiff is an “alleged debtor.”

         16.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

  1265 (11th Cir. 2014); Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

         17.     Defendant is a Foreign Profit Corporation with its principal place of business in

  Cedar Falls, Iowa, and conducts business in the State of Florida.

         18.     Defendant is a “debt collector” as defined by Florida Statute § 559.55(7) and 15

  U.S.C. § 1692(a)(6).
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           19.     The debt that is the subject matter of this complaint is a “consumer debt” as defined

  by Florida Statute § 559.55(6) and 15 U.S.C. § 1692(a)(5).

           20.     Plaintiff is the regular user and carrier of the cellular telephone number at issue,

  (772) 324-1134.

           21.     Plaintiff was the “called party” during each phone call subject to this lawsuit.

           22.     Defendant intentionally harassed and abused Plaintiff on numerous occasions by

  calling several times during one day, and on back to back days, with such frequency as can

  reasonably be expected to harass.

           23.     Defendant did not have the “express consent” of the Defendant to call her cell

  phone.

           24.     “Express consent” is narrowly construed by the Courts.

           25.     It is the Defendant’s burden to prove they had “express consent” per the TCPA to

  call the Plaintiff on her cell phone using an “automatic telephone dialing system” (ATDS).

           26.     It is the Defendant’s burden to prove they had “express consent” per the TCPA to

  call the Plaintiff on her cell phone using an ATDS for each account they were calling on.

           27.     Defendant was put on notice Plaintiff did not want the Defendant contacting her.

           28.     Defendant was told repeatedly to stop calling.2

           29.     Defendant did not have the express consent of the Plaintiff to call her on the

  accounts they called her on.




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   Defendant should have the call logs showing the exact number of calls and the recordings which should illustrate
  exactly what was said to the Defendant.
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          30.    Plaintiff expressly revoked any express consent Defendant may have mistakenly

  believed it had for placement of telephone calls to Plaintiff’s aforementioned cellular telephone

  number by the use of an ATDS or a pre-recorded or artificial voice.

          31.    Defendant attempted to collect a debt from the Plaintiff by this campaign of

  telephone calls.

          32.    Defendant made at least one call to (772) 324-1134.

          33.    Defendant made at least one call to (772) 324-1134 using an ATDS.

          34.    Defendant made at least ten (10) calls to (772) 324-1134.

          35.    Defendant made at least ten (10) calls to (772) 324-1134 using an ATDS.

          36.    Defendant made at least fifty (50) calls to (772) 324-1134.

          37.    Defendant made at least fifty (50) calls to (772) 324-1134 using an ATDS.

          38.    Defendant made at least one hundred (100) calls to (772) 324-1134.

          39.    Defendant made at least one hundred (100) calls to (772) 324-1134 using an ATDS.

          40.    Defendant made at least one hundred fifty (150) calls to (772) 324-1134.

          41.    Defendant made at least one hundred fifty (150) calls to (772) 324-1134 using an

  ATDS.

          42.    Defendant made at least two hundred (200) calls to (772) 324-1134.

          43.    Defendant made at least two hundred (200) calls to (772) 324-1134 using an ATDS.

          44.    Each call the Defendant made to (772) 324-1134 in the last four years was made

  using an ATDS.

          45.    Each call the Defendant made to the Plaintiff’s cell phone was done so without the

  “express permission” of the Plaintiff.

          46.    Defendant has called other people’s cell phones without their express consent.

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          47.     Each call the Defendant made to the Plaintiff was made using an ATDS, which has

  the capacity to store or produce telephone numbers to be called, without human intervention, using

  a random or sequential number generator; and to dial such numbers as specified by 47 U.S.C §

  227(a)(1).

          48.     The calls at issue were placed by the Defendant using a “prerecorded voice,” as

  specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

          49.     Plaintiff repeatedly requested the Defendant to stop calling       her cell phone,

  however, the Defendant continued to make calls.

          50.     Defendant has admitted to calling cell phones using an ATDS after that person

  asked for the calls to stop.

          51.     Plaintiff’s conversations with the Defendant putting them on notice that they did

  not want more phone calls were ignored.

          52.     Defendant has recorded at least one conversation with the Plaintiff.

          53.     Defendant has recorded numerous conversations with the Plaintiff.

          54.     Defendant has made approximately two hundred (200) calls to Plaintiff’s

  aforementioned cellular telephone number in the past four years which will be established exactly

  once Defendant turns over their dialer records.

          55.     Despite actual knowledge of their wrongdoing, the Defendant continued the

  campaign of abusive robocalls.

          56.     Defendant has been sued in federal court where the allegations include: calling an

  individual using an ATDS after the individual asked for the calls to stop.

          57.     By effectuating these unlawful phone calls, Defendants have caused Plaintiff the

  very harm that Congress sought to prevent—namely, a "nuisance and invasion of privacy."

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         58.     Defendant’s aggravating and annoying phone calls trespassed upon and interfered

  with Plaintiff’s rights and interests in her cellular telephone and cellular telephone line, by

  intruding upon Plaintiff’s seclusion.

         59.     Defendant’s phone calls harmed Plaintiff by wasting her time.

         60.     Moreover, "wireless customers [like Plaintiff] are charged for incoming calls

  whether they pay in advance or after the minutes are used." In re: Rules Implementing the TCPA

  of 1991, 23 FCC Rcd 559, 562 (2007). Defendant’s phone calls harmed Plaintiff by depleting the

  battery life on her cellular telephone, and by using minutes allocated to Plaintiff by her cellular

  telephone service provider.

         61.     Defendant’s corporate policy and procedures are structured as to continue to call

  individuals like the Plaintiff, despite these individuals revoking any consent the Defendant may

  have mistakenly believed it had.

         62.     Defendant’s corporate policy and procedures provided no means for the Plaintiff to

  have her aforementioned cellular number removed from the call list.

         63.     Defendant has a corporate policy of using an ATDS or a prerecorded or artificial

  voice message to collect debts from individuals such as Plaintiff for its financial benefit.

         64.      Plaintiff expressly revoked any consent Defendant may have mistakenly believed

  it had for placement of telephone calls to Plaintiff’s aforementioned cellular telephone by the use

  of an ATDS or a pre-recorded or artificial voice immediately upon Defendant’s placement of the

  calls. Making money while breaking the law is considered an incentive to continue violating the

  TCPA and other state and federal statutes.




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           65.   Defendant never had the Plaintiff’s expressed consent for placement of telephone

  calls to her aforementioned cellular telephone by the use of an ATDS or a pre-recorded or artificial

  voice.

           66.   None of Defendant’s telephone calls placed to Plaintiff were for “emergency

  purposes” as specified in 47 U.S.C. §227(b)(1)(A).

           67.   Defendant violated the TCPA, FDCPA and FCCPA with respect to the Plaintiff.

           68.   Defendant willfully or knowingly violated the TCPA with respect to the Plaintiff.

                                                   COUNT I
                                            (Violation of the TCPA)

           69.   Plaintiff incorporates Paragraphs one (1) through sixty eight (68)

           70.   Defendant willfully violated the TCPA with respect to the Plaintiff each time they

  called the Plaintiff after she revoked her consent to be called by them using an ATDS or pre-

  recorded voice.

           71.   Defendant knowingly violated the TCPA with respect to the Plaintiff, especially for

  each of the auto-dialed calls made to Plaintiff’s cellular telephone after Plaintiff revoked her

  consent to be called by them using an ATDS or pre-recorded voice.

           72.   Defendant, The CBE Group, Inc. repeatedly placed non-emergency telephone calls

  to the wireless telephone number of Plaintiff using an automatic telephone dialing system or

  prerecorded or artificial voice without Plaintiff’s prior express consent in violation of federal law,

  including 47 U.S.C § 227(b)(1)(A)(iii).

           73.   As a result of Defendant’s illegal conduct, Plaintiff suffered actual damages and,

  under § 227(b)(3)(B), is entitled to, inter alia, a minimum of $500.00 in damages for each such

  violation of the TCPA.


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         74.     Plaintiff is also entitled to, and does, seek injunctive relief prohibiting Defendant,

  The CBE Group, Inc., from violating the TCPA in the future.

         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

  judgment against Defendant for statutory damages, punitive damages, actual damages and any

  other such relief the court may deem just and proper.

                                             COUNT II
                                     (Violation of the FDCPA)

         75.     Plaintiff incorporates Paragraphs one (1) through sixty-eight (68).

         76.     At all times relevant to this action, Defendant is subject to and must abide by 15

  U.S.C. § 1692 et seq.

         77.     Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(d) by

  willfully engaging in conduct the natural consequence of which is to harass, oppress, or abuse any

  person in connection with the collection of a debt.

         78.     Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(d)(5)

  by causing a telephone to ring or engaging any person in telephone conversation repeatedly or

  continuously with intent to annoy, abuse, or harass any person at the called number.

         79.     Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(f) by

  using unfair and unconscionable means to collect or attempt to collect any debt.

         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

  judgment against for statutory damages, punitive damages, actual damages, costs, interest, attorney

  fees and any other such relief the court may deem just and proper.




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                                               COUNT III
                                        (Violation of the FCCPA)

            80.    Plaintiff incorporates Paragraphs one (1) through sixty-eight (68).

            81.    At all times relevant to this action Defendant is subject to and must abide by the

  law of Florida, including Florida Statute § 559.72.

            82.    Defendant has violated Florida Statute § 559.72(7) by willfully communicating

  with the debtor or any member of her family with such frequency as can reasonably be expected

  to harass the debtor or her family.

            83.    Defendant has violated Florida Statute § 559.72(7) by willfully engaging in other

  conduct which can reasonably be expected to abuse or harass the debtor or any member of her

  family.

            84.    Defendant has violated Florida Statute § 559.72(9) by attempting to enforce a debt

  when Defendant knows that the debt is not legitimate or assert the existence of some legal right

  when Defendant knows that right does not exist.

            85.    Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and

  continuous sustaining of damages as described by Florida Statute §559.77.

            WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

  judgment against Defendant for statutory damages, punitive damages, actual damages, costs,

  interest, attorney fees, enjoinder of future illegal conduct, and any other such relief the court may

  deem just and proper.




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                                               COUNT IV
                            (Invasion of Privacy – Intrusion Upon Seclusion)

          86.     Plaintiff incorporates Paragraphs one (1) through sixty-eight (68).

          87.     Defendant through its collection conduct, has repeatedly and intentionally invaded

  Plaintiff’s privacy.

          88.     All of the calls made to Plaintiff’s cell phone by Defendant and its agents using an

  automatic telephone dialing system were made in violation of the TCPA, and were unreasonable

  and highly offensive invasions of Plaintiff’s right to privacy.

          89.     Defendant’s persistent autodialed calls to her cellular phone eliminated Plaintiff’s

  right to be left alone.

          90.     Defendant’s autodialed collection calls disrupted Plaintiff’s privacy, disrupted

  Plaintiff’s sleep, disrupted Plaintiff during mealtimes, disrupted Plaintiff during her work, and

  continually frustrated and annoyed Plaintiff.

          91.     These persistent autodialed collection calls eliminated the peace and solitude that

  the Plaintiff would have otherwise had in Plaintiff’s home and anywhere else Plaintiff went with

  her cellular phone.

          92.     By calling her cellular phone, Plaintiff had no escape from these collection calls

  either in her home or when she left the home.

          93.     By persistently autodialing Plaintiff’s cellular phone without prior express consent,

  Defendant invaded Plaintiff’s right to privacy, as legally protected by the TCPA, and caused

  Plaintiff to suffer concrete and particularized harm.

          94.     Defendant’s harassing collection conduct and tactic of repeatedly auto dialing

  Plaintiff to her cellular telephone after requests to stop is highly offensive to a reasonable person.

          95.     Defendant intentionally intruded upon Plaintiff’s solitude and seclusion.
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         96.     As a result of Defendant’s action or inaction, Plaintiff has been damaged.

         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

  judgment against Defendant for statutory damages, punitive damages, actual damages and any

  other such relief the court may deem just and proper.

                                               Respectfully submitted,

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